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 1                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 2
                                          OAKLAND DIVISION
 3

 4     IN RE: SOCIAL MEDIA ADOLESCENT                              MDL No. 3047
       ADDICTION/PERSONAL INJURY PRODUCTS
 5     LIABILITY LITIGATION                                        Case No. 4:22-md-03047-YGR (PHK)

 6     This Document Relates To:                                   Judge: Hon. Yvonne Gonzalez Rogers

 7     The School Board of Hillsborough County, Florida            DECLARATION OF JOSEPH
       v. Meta Platforms, Inc., et al., No. 24-cv-01573            SANDOVAL-BUSHUR IN SUPPORT
 8                                                                 OF DEFENDANTS’ MOTION TO
       Board of Education of Jordan School District v.             PRECLUDE PLAINTIFFS FROM
 9     Meta Platforms, Inc., et al., No. 24-cv-01377               RELYING ON LATE-DISCLOSED
                                                                   SCHOOL DISTRICT WITNESSES
10     Tucson Unified School District v. Meta Platforms,
       Inc., et al., No. 24-cv-01382
11

12    I, Joseph Sandoval-Bushur, declare and state as follows:
13           1.      I am an attorney admitted to practice in the District of Columbia and State of
14    Missouri, and admitted to practice pro hac vice in the above-entitled action. I am associated with
15    the law firm of Williams & Connolly, LLP, counsel for Defendant YouTube, LLC, Google LLC,
16    and Alphabet Inc. I make this declaration in support of Defendants’ Motion to Preclude Plaintiffs
17    from Relying on Late-Disclosed School District Witnesses. This declaration is based on my own
18    personal knowledge and, if called to testify as to the truth of the matters set forth herein, I could
19    and would competently testify thereto. I offer this declaration without waiving or intent to waive
20    attorney-client privilege.
21           2.      Attached as Exhibit A is a true and correct copy of Plaintiff’s Third Amended
22    Answers to Defendants’ Interrogatories to the School Board of Hillsborough County, Florida (Set
23    1) dated April 4, 2025, with redactions required under Fed. R. Civ. P. 5.2(a)(3).
24           3.      Attached as Exhibit B is a true and correct copy of Plaintiff’s Third Amended
25    Answers to Defendants’ Interrogatories to Board of Education of Jordan School District (Set 1)
26    dated April 4, 2025, with redactions required under Fed. R. Civ. P. 5.2(a)(3).
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                                                                                 Case No. 4:22-MD-03047-YGR
           [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO PRECLUDE PLAINTIFFS FROM
                      RELYING ON LATE-DISCLOSED SCHOOL DISTRICT WITNESSES
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 1            4.      Attached as Exhibit C is a true and correct copy of Plaintiff’s Third Amended
 2    Answers to Defendants’ Interrogatories to Tucson Unified School District (Set 1) dated April 4,
 3    2025, with redactions required under Fed. R. Civ. P. 5.2(a)(3).
 4            5.      Attached as Exhibit D is a true and correct copy of Plaintiff’s Answers to
 5    Defendants’ Interrogatories to the School Board of Hillsborough County, Florida (Set 1) dated
 6    June 6, 2024.
 7            6.      Attached as Exhibit E is a true and correct copy of Plaintiff’s Answers to
 8    Defendants’ Interrogatories to Board of Education of Jordan School District (Set 1) dated June 6,
 9    2024.
10            7.      Attached as Exhibit F is a true and correct copy of Plaintiff’s Answers to
11    Defendants’ Interrogatories to Tucson Unified School District (Set 1) dated June 6, 2024.
12            8.      Attached as Exhibit G is a true and correct copy of School District Plaintiffs’
13    Initial Disclosure Statement Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A) dated
14    February 22, 2024.
15            9.      Attached as Exhibit H is a true and correct copy of a letter from Michael M.
16    Weinkowitz to Defendants’ counsel dated July 21, 2023.
17            10.     Attached as Exhibit I is a true and correct copy of a letter from Dean Kawamoto,
18    Michael M. Weinkowitz, and Melissa L. Yeates to Defendants’ counsel dated December 7, 2023.
19            11.     Attached as Exhibit J is a true and correct copy of a letter from Michael M.
20    Weinkowitz and Melissa L. Yeates to Defendants’ counsel dated July 24, 2024.
21            12.     Attached as Exhibit K is a true and correct copy of the Reporter’s Transcript of
22    Proceedings, Motion for Summary Judgment and Case Management Conference, dated October
23    7, 2022 in In re Juul Labs, Inc., Marketing, Sales Practices and Products Liability Litigation, No.
24    3:19-md-02913.
25            13.     Attached as Exhibit L is a true and correct copy of an excerpt of the transcript of
26    the fact witness deposition of B.D. (Board of Education of Jordan School District).
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                                                       -2-                      Case No. 4:22-MD-03047-YGR
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 1           14.     Attached as Exhibit M is a true and correct copy of Plaintiff’s Supplemental
 2    Answers to Defendants’ Interrogatories to St. Charles Parish School District (Set 1) dated April
 3    28, 2025, with redactions required under Fed. R. Civ. P. 5.2(a)(3).
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      Dated: May 9, 2025                   By:     /s/ Joseph Sandoval-Bushur
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                                                   Joseph Sandoval-Bushur
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